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     Attorney for Defendant
 5   THEARITH PRAK
 6
 7                               UNITED STATES DISTRICT COURT
 8                               EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,        )            Case No. 1: 06-CR-00313 LJO
                                      )
11          Plaintiff,                )             APPLICATION FOR ORDER EXONERATING
                                      )             CASH BOND AND ORDER THEREON
12               v.                   )
                                      )
13   THEARITH PRAK,                    )
                                      )
14          Defendant.                 )             HONORABLE LAWRENCE J. O’NEILL
     _________________________________)
15
16          Defendant, THEARITH PRAK, by and through his counsel, John F. Garland, hereby
17   moves the Court for an order exonerating the cash bond deposited with the Clerk of the Court in
18   the above captioned case.
19          On September 12, 2006 defendant THEARITH PRAK was arrested pursuant to a
20   Warrant of Arrest issued by this Court for charges in the above captioned case. On September 20,
21   2006 United States Magistrate Judge Lawrence J. O’Neill ordered the release of Mr. Prak, setting
22   conditions of pretrial supervision, and a $2,000 cash bond. THEARITH PRAK was released
23   from custody on September 20, 2006 following the deposit of $2,000 cash with the Clerk of the
24   Court by SOPHANN KONG [Doc. 40, Receipt # 101-9433].
25          On June 13, 2008 THEARITH PRAK appeared before this Court and entered a plea of
26   guilty to Count 1 of the Indictment. On February 27, 2009 this Court sentenced THEARITH
27   PRAK to a term of 27 months imprisonment and ordered him to surrender to the federal
28   institution designated by the United States Bureau of Prisons on or before 2:00 p.m. on April 10,


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 1   2009.
 2           On April 10, 2009 THEARITH PRAK surrendered to the Taft Correctional Institution
 3   at Taft, California to begin service of the 27 month sentence imposed by this Court. THEARITH
 4   PRAK, having surrendered to the designated federal institution as ordered, hereby requests the
 5   Court exonerate the cash bond set by the Magistrate Judge and order the Clerk of the Court to
 6   return the $2,000 cash [Receipt # 101-9433] to SOPHANN KONG. Assistant United States
 7   Attorney Laurel J. Montoya does not oppose this application
 8
 9 Dated: April 12, 2009                                  Respectfully submitted,
10
                                                               /s/ John F. Garland
11                                                               John F. Garland
                                                              Attorney for defendant
12                                                            THEARITH PRAK
13
14
                                         ORDER
15
16           Pursuant to the representations of Officer of the Court Garland, the cash bond posted by
17 SOPHANN KONG is exonerated and the Clerk of the Court is directed to return the $2,000 cash
18 [Receipt # 101-9433] to SOPHANN KONG.
19
20 IT IS SO ORDERED.
21 Dated:      April 15, 2009                        /s/ Lawrence J. O'Neill
   b9ed48                                        UNITED STATES DISTRICT JUDGE
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